      Case 3:20-cv-00456-E Document 1 Filed 02/24/20              Page 1 of 30 PageID 1



                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 SAMMIE ANDERSON; GRANT BIBLE;                      §
 AND SAMUEL BIBLE,                                  §
                                                    §
         Plaintiffs,                                §
 v.                                                 §
                                                         CIVIL ACTION NO. 3:20-cv-00456
                                                    §
 CITY OF DESOTO; OFFICER BRYAN                      §
 SCOTT-LEE; OFFICER PATRICK                         §
                                                         JURY TRIAL DEMANDED
 KREKEL; OFFICER RYAN MONEY;                        §
 OFFICER LARRY WALKER; OFFICER                      §
 KENDALL MCGILL; AND OFFICER                        §
 COURIE BRYANT                                      §
                                                    §
         Defendants.                                §

                                   ORIGINAL COMPLAINT

        Plaintiffs SAMMIE ANDERSON, GRANT BIBLE, and SAMUEL BIBLE, (“Plaintiffs”),

by and through his attorneys, brings this action for damages and other legal and equitable relief

from Defendants CITY OF DESOTO; OFFICER BRYAN SCOTT-LEE; OFFICER PATRICK

KREKEL; OFFICER RYAN MONEY; OFFICER LARRY WALKER; OFFICER KENDALL

MCGILL; and OFFICER COURIE BRYANT (collectively “Defendants”), for violations of their

rights under the United States Constitution, including the Fourth and Fourteenth Amendments,

pursuant to 42 U.S.C. § 1983 and any other cause(s) of action that can be inferred from the facts

set forth herein.

                                       INTRODUCTION

        1.      This is an action brought by Plaintiff seeking damages from Defendants for acts of

racial profiling, unlawful detention, unlawful arrest, excessive force, and inadequate training,

committed by members of the DeSoto Police Department as agents of Defendants or Defendants

themselves.


                                                1                    ORIGINAL COMPLAINT
     Case 3:20-cv-00456-E Document 1 Filed 02/24/20                  Page 2 of 30 PageID 2



       2.      Plaintiffs allege that the City of DeSoto and the DeSoto Police Department,

collectively referred herein as the “Policymakers,” failed to properly supervise and/or discipline

officers who are known, or who should have been known, to engage in the use of excessive force.

The City of DeSoto and the DeSoto Police Department had a duty but failed to implement and/or

enforce policies, practices, and procedures for the DeSoto Police Department that respected

Plaintiffs’ rights. As a consequence, DeSoto Police officers knew that the Policymakers would

approve and/or ratify the violative actions that are the subject of this complaint. Chief Joe Costa

of the DeSoto Police Department ratified the actions of Defendant Officers Bryan Scott-Lee,

Patrick Krekel, Ryan Money, Larry Walker, Kendall McGill, and Courie Bryant by failing to

implement the appropriate disciplinary measure of immediate termination of the officers. He also

attempted to minimize their misconduct by publicly defending their actions, allowing them to

remain as peace officers within the same department that violated Plaintiffs’ rights, and defending

the actions being complained of by Plaintiffs. For these civil rights violations and other causes of

action discussed herein, Plaintiffs seek answers and compensation for damages.

       3.      As a result of Defendants’ unlawful actions, Plaintiffs are entitled to recover for

damages pursuant to violations of their rights under the United States Constitution, including

protections against unreasonable searches and seizures under the Fourth Amendment and right to

equal protection under the Fourteenth Amendment, pursuant to 42 U.S.C. § 1983.

                                 JURISDICTION AND VENUE

       4.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, which

confers original jurisdiction upon this Court for actions arising under the laws of the United States,

and pursuant to 28 U.S.C. §§ 1343(3) and 1343(4), which confer original jurisdiction upon this

Court in a civil action to recover damages or to secure equitable relief (i) under any Act of Congress



                                                  2                    ORIGINAL COMPLAINT
     Case 3:20-cv-00456-E Document 1 Filed 02/24/20                Page 3 of 30 PageID 3



providing for the protection of civil rights; (ii) under the Declaratory Judgment Statute, 28 U.S.C.

§ 2201; 42 U.S.C. §§ 2000e et seq., as amended, and (iii) 42 U.S.C. §§ 1983 et seq., as amended.

        5.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a substantial

part of the events or omissions giving rise to the claims asserted herein occurred within this

District.

                                            PARTIES

        6.      Plaintiff Sammie Anderson is a person who has been aggrieved by Defendants’

actions. She has been, at all relevant times, an African-American citizen of the United States of

America and a resident of the state of Texas.

        7.      Plaintiff Grant Bible is a person who has been aggrieved by Defendants’ actions.

He has been, at all relevant times, an African-American citizen of the United States of America

and a resident of the state of Texas.

        8.      Plaintiff Samuel Bible is a person who has been aggrieved by Defendants’ actions.

He has been, at all relevant times, an African-American citizen of the United States of America

and a resident of the state of Texas.

        9.      Defendant City of DeSoto is located within the State of Texas and within the

Northern District of Texas. Defendant City of DeSoto operates the DeSoto Police Department

(“DeSoto PD”).

        10.     Officers Bryan Scott-Lee, Patrick Krekel, Ryan Money, Larry Walker, Kendall

McGill, and Courie Bryant were each, at all times pertinent to this complaint, employed by the

City of DeSoto as certified peace officers working in Dallas County, Texas and acting under color

of state law.




                                                 3                    ORIGINAL COMPLAINT
     Case 3:20-cv-00456-E Document 1 Filed 02/24/20               Page 4 of 30 PageID 4



                                       STATEMENT OF FACTS

I.     Defendants unlawfully detained Plaintiffs.

       11.     On August 7, 2018, Officers Bryan Scott-Lee, Patrick Krekel, Ryan Money, Larry

Walker, Kendall McGill, and Courie Bryant unlawfully detained, arrested, and used excessive

force against several individuals, including a mother, Sammie Anderson, her adult sons: Matt

Bateman, Grant Bible, and Samuel Bible; and a family friend, Jayla Armstead.

       12.     Sammie Anderson was volunteering to help a neighbor who is a senior citizen when

she learned that two of her sons, Matt Bateman and Grant Bible, became involved in an argument.

       13.     Although the argument did not become physical, family members were concerned

that Matt Bateman was not acting like himself; so, Sammie Anderson encouraged another family

member to call the police, hoping officers would help calm the situation.

       14.     Officer Bryan Scott-Lee was the first to arrive at the scene on or about 8:46 p.m.

       15.     Video footage from a camera mounted in his vehicle (his “dash” camera), and his

body camera footage, shows him arriving at a quiet scene.

       16.     In statements to the Dallas Morning News, DeSoto PD’s Chief, Joe Costa,

confirmed this fact after viewing Officer Scott-Lee’s dash camera footage, stating, “There was no

physical altercation, no arguing . . . it was calm.”

       17.     Officer Patrick Krekel arrived at the scene seconds after Officer Scott-Lee.

       18.     Sammie Anderson’s street terminated in a dead end. As Officer Scott-Lee

approached the dead end, he first encountered Sammie Anderson, Matt Bateman, and Grant Bible.

Sammie Anderson and Matt Bateman were walking away from the dead end. Grant Bible was near

the dead end, seated in his vehicle.




                                                   4                 ORIGINAL COMPLAINT
     Case 3:20-cv-00456-E Document 1 Filed 02/24/20                Page 5 of 30 PageID 5



        19.     Officer Scott-Lee exited his vehicle, immediately drew his taser, and began

ordering everyone to, “Get on the ground,” despite the fact that he had no reason to suspect they

had been involved in, were involved in, or were about to be involved in criminal activity or posed

any threat to his safety.

        20.     Officer Scott-Lee did not even know whether Sammie Anderson, Matt Bateman or

Grant Bible were associated with the call he was responding to nor did Officer Krekel when he

joined Officer Scott-Lee in ordering everyone to get on the ground at taser-point.

        21.     Officers Scott-Lee and Krekel would later claim that they saw Sammie Anderson,

Matt Bateman, and Grant Bible running from the house and fighting when they arrived, but Officer

Scott-Lee’s dash camera footage shows that this was not true.

        22.     Plaintiffs allege the only fact Officers Scott-Lee and Krekel observed about

Plaintiffs that led to them being detained and arrested was the fact that they were each African

American.

        23.     Matt Bateman put his hands in the air and laid down on the ground less than three

seconds after first being commanded to do so.

        24.     Matt Bateman did not show any signs of aggression towards anyone at the scene;

however, Officer Krekel later falsely told his supervisor, Lieutenant Walker, that Matt Bateman

was “amped up.” Officer Scott-Lee’s dash camera footage also shows that this was not true.

        25.     To Sammie Anderson, Matt Bateman, Grant Bible, and other civilian witnesses at

the scene, Officer Scott-Lee and Krekel’s tasers looked like guns because they were black in color

and had laser sights that the officers were aiming at people to intimidate them.

        26.     Sammie Anderson also got on the ground, as instructed.




                                                 5                   ORIGINAL COMPLAINT
      Case 3:20-cv-00456-E Document 1 Filed 02/24/20                Page 6 of 30 PageID 6



        27.     Grant Bible put his hands in the air and stood still until Officer Scott-Lee ordered

him to approach.

        28.     Officer Krekel was standing several feet behind Officer Scott-Lee and facing

towards Grant Bible when Officer Scott-Lee ordered Grant Bible to approach.

        29.     Officer Scott-Lee’s body camera recorded him telling Grant Bible, “Come here.

You’re good; just come over here—you’re good . . ..”

        30.     Later, after tasing Grant Bible, Officer Krekel would falsely tell Lieutenant Walker,

“That guy that was tased . . . he came out of that car and, uh, approached the situation himself,”

though, again, Officer Scott-Lee’s dash camera footage and body camera footage shows that this

was not true.

        31.     After ordering him to approach, Officer Scott-Lee asked Grant Bible, “Is it just all

y’all fighting?” Grant Bible pointed at Matt Batemen and said, “Just him. No one is fighting

though.” Sammie Anderson also told Officer Scott-Lee, “No one is fighting.”

II.     Defendants used excessive force against Sammie Anderson.

        32.     Upon returning home from work, Samuel Bible was shocked to see police cars

outside his family’s home.

        33.     Officer Scott-Lee and Krekel’s vehicles were blocking the roadway, which led

Samuel Bible to believe he should park his vehicle behind the officers’ cars.

        34.     Assuming officers had been called to assist his family with an emergency, Samuel

Bible feared for his family’s safety and walked towards the scene to find out what happened.

        35.     Samuel Bible was shocked and confused when Officers Scott-Lee and Krekel

immediately began yelling at him to get on the ground at taser-point.




                                                  6                    ORIGINAL COMPLAINT
    Case 3:20-cv-00456-E Document 1 Filed 02/24/20                 Page 7 of 30 PageID 7



       36.     Nobody at the scene had spoken in a raised voice before Officers Scott-Lee and

Krekel began yelling at Samuel Bible.

       37.     Samuel Bible’s girlfriend, Jayla Armstead, was nearby when Officers Scott-Lee

and Krekel began yelling at Samuel Bible.

       38.     Sammie Anderson, Matt Bateman, Grant Bible, and Jayla Armstead believed the

officers were threatening to kill Samuel Bible and began begging them not to shoot him.

       39.     The officers did nothing to assure the family that there were not threatening Samuel

Bible’s life. Instead, they continued yelling and behaving aggressively despite the fact that no one

showed any signs of aggression towards the officers.

       40.     Stunned by the officers’ aggression, Samuel Bible tried to calm them and asked

them to, “Listen,” but Officers Scott-Lee and Krekel continued to yell and threaten him, even after

Samuel Bible complied by kneeling on the ground.

       41.     Fearing that Officer Scott-Lee was about to shoot and kill Samuel Bible, Sammie

Anderson walked towards him while pleading, “He is not resisting, sir, he’s just scared.”

       42.     Sammie Anderson did not make physical contact with Officer Scott-Lee nor did

she show any signs of aggression. Still, Officer Scott Lee screamed, “Will you get your ass back?!”

       43.     Officer Krekel turned his back to Matt Bateman and Grant Bible, holstered his taser,

grabbed Sammie Anderson from behind and tackled her to the ground, causing a visible injury to

her left leg as evidenced by the fact that Lieutenant Walker later asked a “med unit” to examine

the wound.

       44.     Grant Bible and Samuel Bible stood up in shock after witnessing Officer Krekel

slam their mother on the ground, but neither of them approached either of the officers.




                                                 7                    ORIGINAL COMPLAINT
       Case 3:20-cv-00456-E Document 1 Filed 02/24/20                 Page 8 of 30 PageID 8



         45.   Officer Krekel aggressively drew his taser and aimed it at Grant Bible, screaming

at him to get back on the ground.

         46.   Believing her son was being threatened with lethal force, Sammie Anderson stood

in front of him and begged Officer Krekel, “Please don’t shoot my son!”

         47.   Officer Krekel, along with Officer Scott-Lee, continued yelling and issuing threats

until everyone was lying face-down on the ground.

         48.   After everyone was on the ground, Officer Scott-Lee falsely told other officers en

route to the scene that the males at the scene were fighting. Specifically, his dash camera and body

cameras record him stating over his radio, “Proceed once you get here we need to start hooking

people up. The males first—they’re all trying to fight each other.”

         49.   Again, Officer Scott-Lee’s dash camera footage shows that this was not true. It

shows that at the time Officer Scott-Lee falsely claimed the males were fighting, Sammie

Anderson, Matt Bateman, Grant Bible, Samuel Bible, and Jayla Armstead were all lying down on

the ground as instructed. Matt Bateman had not moved from the original position he took when

first ordered to get on the ground.

         50.   At no point during the encounter did Officer Scott-Lee witness anyone fighting.

III.     Defendants used excessive force against Grant Bible.

         51.   Officer Ryan Money was the third officer to arrive, followed by Officers Larry

Walker, Kendall McGill, and Courie Bryant.

         52.   When Officers Money, Walker, McGill, and Bryant arrived, they immediately

began handcuffing everyone without the requisite reasonable suspicion or probable cause

necessary to detain or arrest them.




                                                 8                     ORIGINAL COMPLAINT
     Case 3:20-cv-00456-E Document 1 Filed 02/24/20                  Page 9 of 30 PageID 9



       53.     When Officers Money, Walker, McGill, and Bryant arrived, there was no indication

that Plaintiffs were attempting to fight each other or resist Officers Scott-Lee or Krekel. Plaintiffs

were lying face-down on the ground as instructed.

       54.     Officers Money, Walker, McGill, and Bryant joined Officers Scott-Lee and Krekel

in unlawfully detaining and arresting Plaintiffs without the requisite reasonable suspicion or

probable cause necessary to do so.

       55.     After Matt Bateman and Samuel Bible were handcuffed, the officers crowded

around Grant Bible, blocking Officers Scott-Lee’s dash camera from recording what happened

next: Officer Krekel repeatedly tased Grant Bible with his taser while officers Scott-Lee, Money,

Walker, McGill, and Bryant participated by holding him down, aggressively twisting his arms

behind his back, and handcuffing him while one of the officers placed his knee behind Grant

Bible’s head and neck, driving his face into the concrete.

       56.     Afterward, Lieutenant Walker claimed that Grant Bible was tased because, “He

would not comply.”

       57.     Although five of the six officers at the scene (Scott-Lee, Krekel, Money, Walker,

and Bryant) were wearing body cameras, none of them recorded Grant Bible being tased and

assaulted.

       58.     The only officer whose body camera was activated during the majority of the

encounter was Officer Scott-Lee’s, although his body camera did not record Grant Bible’s tasing.

       59.     Plaintiffs allege that officers intentionally disabled their body cameras or positioned

them in a manner that prevented Grant Bible’s abuse from being recorded. Plaintiff’s also allege

that Chief Costa’s choice to support the Officers’ conduct contradicts his public support of the use




                                                  9                    ORIGINAL COMPLAINT
      Case 3:20-cv-00456-E Document 1 Filed 02/24/20             Page 10 of 30 PageID 10



of body camera and the importance of officers keeping the cameras running during confrontations

with citizens.

         60.     Chief Costa’s support of the Officers despite their decision not to record Grant

Bible being tased demonstrates that DeSoto has a policy of supporting officers’ conduct even when

they violate the law and written procedures.

IV.      Defendant’s unlawfully arrested Plaintiffs.

         61.     Jayla Armstead and Sammie Anderson were also handcuffed.

         62.     While Sammie Anderson was lying face-down, the officer who handcuffed her

drove his knee into her back and pinned her to the ground, injuring her shoulders.

         63.     Jayla Armstead was similarly handcuffed.

         64.     Sammie Anderson remained handcuffed for over half an hour.

         65.     Jayla Armstead remained handcuffed for roughly twenty-five minutes.

         66.     Both Sammie Anderson and Jayla Armstead remained handcuffed well after Matt

Bateman, Grant Bible, and Samuel Bible were placed in separate patrol vehicles.

         67.     Officers Scott-Lee, Krekel, Money, Walker, McGill, and Bryant each participated

in unlawfully detaining and arresting Matt Bateman, Grant Bible, and Samuel Bible.

         68.     Additionally, Officers Scott-Lee, Krekel, Money, Walker, McGill, and Bryant each

participated in unlawfully detaining and arresting Sammie Anderson and Jayla Armstead.

         69.     Although Sammie Anderson and Jayla Armstead were not taken to jail, like Matt

Bateman, Grant Bible, and Samuel Bible, their detentions rose to the level of constituting arrests.

         70.     Officers Scott-Lee, Krekel, Money, Walker, McGill, and Bryant all participated in

unlawfully detaining and arresting Sammie Anderson and Jayla Armstead by forcing them to

remain handcuffed and seated on the ground, restricting their movements, including by standing



                                                10                   ORIGINAL COMPLAINT
     Case 3:20-cv-00456-E Document 1 Filed 02/24/20               Page 11 of 30 PageID 11



over them as they remained seated on the hot pavement, refusing to remove or loosen their

handcuffs when asked, questioning them, and refusing to allow them to stand despite the women

providing valid reasons for requesting to do so.

        71.    Sammie Anderson asked to stand because the pavement was too hot to sit on

without experiencing pain.

        72.    Sammie Anderson was forced to remain on the hot pavement for nearly twenty

minutes until she told the officers that she suffers from seizures and that she feared continuing to

sit on the pavement might cause her to have one.

        73.    Jayla Armstead had a visible scar on her arm from a recent surgery. She complained

that her handcuffs were causing her pain; however, officers refused to loosen or remove them until

medical personnel asked them to.

V.      Defendants’ post-arrest comments support Plaintiffs’ claims.

        74.    After Matt Bateman, Grant Bible, and Samuel Bible were placed in patrol cars,

Lieutenant Walker identified himself as a lieutenant and supervisor to Sammie Anderson.

        75.     He explained that the officers used force because Plaintiffs were “out of control;”

however, Officer Scott-Lee’s dash camera shows that Plaintiffs were all laying face-down on the

ground, in compliance with Officer Scott-Lee and Krekel’s instructions, when Lieutenant Walker

arrived.

        76.    Officer Scott-Lee began questioning family members with the assistance of

Officers Money, Walker, McGill, and Bryant.

        77.    Despite the fact that Officer Scott-Lee’s investigation did not unearth the requisite

reasonable suspicion or probable cause necessary to detain or arrest Plaintiffs, Officers Scott-Lee,




                                                   11                 ORIGINAL COMPLAINT
   Case 3:20-cv-00456-E Document 1 Filed 02/24/20                  Page 12 of 30 PageID 12



Krekel, Money, Walker, McGill, and Bryant continued to participate in detaining and arresting

Plaintiffs.

         78.   In Lieutenant Walker’s presence, Officer Scott-Lee asked Sammie Anderson to

explain what happened before he arrived. Officer Scott-Lee interrupted her several times.

         79.   For example, Lieutenant Walker’s body camera footage captures Officer Scott-

claiming that he pulled his taser on her, Matt Bateman, and Grant Bible because, “Y’all were in

the street trying to fight” to which Lieutenant Walker added, “That’s protocol.”

         80.   However, Officer Scott-Lee’s dash-camera footage and body-camera footage show

that he neither witnessed Plaintiffs fighting nor attempting to fight each other.

         81.   Officer Scott-Lee also interrupted Sammie Anderson to explain that the situation

became violent because Plaintiffs did not follow all of the instructions provided by officers at the

scene. Specifically, he stated, “Me, as a peace officer—if you’re not listening, you get what you

get,” and, “When the police show up, we’re in control—do what you’re told.”

         82.   When Sammie Anderson responded that Plaintiffs did follow the officers’

instructions, Officers Scott-Lee, Krekel, Walker, and others repeated several times that all of the

events that transpired were recorded by Officer Scott-Lees dash camera and by the body cameras

worn by each of the officers at the scene.

         83.   However, not one of the body cameras worn by Officers Scott-Lee, Krekel, Money

Walker, or Bryant recorded the entire encounter and not one recorded any part of Grant Bible being

tased.

         84.   The situation ended with officers arresting Grant Bible, Samuel Bible, and Matt

Bateman. Samuel and Grant Bible were arrested for interfering with the police officers. Matt

Bateman was arrested on different charges.



                                                 12                    ORIGINAL COMPLAINT
      Case 3:20-cv-00456-E Document 1 Filed 02/24/20                  Page 13 of 30 PageID 13



         85.    The Dallas County District Attorney subsequently dismissed all charges against

Grant Bible and Samuel Bible for lack of evidence of any criminal offense shortly after the cases

were turned over to the District Attorney’s office.

         86.    Before concluding his conversation with Sammie Anderson, Lieutenant Walker

spontaneously raised the issue of race, stating, “We’re all racist officers, right? We’re all racist

officers, right? Is that why we did this?” Sammie Anderson had not accused Lieutenant Walker or

any of the other officers of being racist. Though Officer Walker raised the issue sarcastically, his

emphasis on race evidenced an awareness that race played a factor in the events that transpired on

August 7, 2018, and is an ongoing issue with the DeSoto Police Department.

VI.      The DeSoto Police Department has a self-reported history of racial profiling.

         87.    Desoto Police Department’s Chief, Joe Costa, admits in two reports on racial

profiling commissioned by the DeSoto Police Department that African-American motorists are

detained at rates higher than non-African-American drivers in DeSoto.

         88.    This self-reported racial profiling data supports the reasonable inference that

African Americans are profiled by the DeSoto Police Department in other contexts, including

detentions and arrests like Plaintiffs’ in this case.

         89.    Two of Chief Costa’s recent Racial Profile Reports are publicly available. The first,

dated March 8, 2017 (the “Current Report”), is featured on the City of DeSoto’s website (a copy

of the Current Report is attached as Exhibit “A.”).1 The second report is dated January 16, 2015

(the “Past Report”) (a copy of the Past Report is attached as Exhibit “B”).




1
 The Current Report can be found on the City of DeSoto’s website by following this path from the homepage:
Departments, Police, Divisions, Professional Standards, and Racial Profiling Report.

                                                   13                     ORIGINAL COMPLAINT
    Case 3:20-cv-00456-E Document 1 Filed 02/24/20                              Page 14 of 30 PageID 14



         90.      Not only do the reports show that African-American motorists are stopped more

frequently than non-African-Americans, but the reports also show that African-Americans have

been stopped at increasingly higher rates over time.

         91.      In his Past Report, Chief Costa openly admitted, “It is reasonable to believe that

African American [sic] motorists will be stopped in DeSoto more than any other race . . ..”

         92.      The Past Report specified that 74.9% of motor vehicle stops involved African

Americans in 2014, which was higher than the percentage of African Americans then living in

DeSoto.2

         93.      Moreover, this disparity was only true for African-American motorists. It was not

true for non-African-Americans. Caucasians and Hispanics were stopped at rates below their

respective populations.

         94.      In his Current Report, Chief Costa neither openly admits that African-American

motorists are stopped in DeSoto more than any other race, nor does he specify what percentage of

motor vehicle stops involve African Americans. However, the data included in his report shows

that African-American motorists are stopped more often than non-African-Americans. Moreover,

it shows that African-American motorists are stopped even more frequently than they were in the

past despite the fact that their population has remained the same.3

         95.      The Past Report shows that 74.9% of motor vehicle stops involved African

Americans. The Current Report shows that 78.5% of motor vehicle stops involve African



2
  Out of an abundance of caution Plaintiffs note that it is difficult to analyze the data for Asian, Native-American, and
Middle-Eastern populations because the report simply states that, together, they comprise less than 1% of all stops.
However, it is reasonable to conclude that these groups were stopped at rates below their population percentages
because the report specifies that DeSoto’s population is 0.9% Asian and 0.5% Native American. No population
percentage is provided for Middle-Eastern drivers.
3
  The Past Report relied on 2012 Census Data showing DeSoto’s African-American population was 67.9%. The
Current Report does not state DeSoto’s African-American population percentage. However, the United States Census
Bureau website states that African Americans currently comprise 68.3% of DeSoto’s population.

                                                          14                        ORIGINAL COMPLAINT
    Case 3:20-cv-00456-E Document 1 Filed 02/24/20                         Page 15 of 30 PageID 15



Americans. What remained constant between the Past Report and the Current Report is the fact

that American-American motorists were the only demographic subjected to this disparity.4

        96.      Chief Costa’s self-reporting of racial profiling of African-American motorists, who

are detained at higher rates than non-African-Americans, supports the reasonable inference that

racial profiling also occurs when African Americans encounter DeSoto Police officers in other

contexts, including detentions, arrests, and unlawful conduct like that experienced by Plaintiffs’

on August 7, 2018.

        97.      Chief Costa’s Past Report was addressed to Mayor Carl O. Sherman and City

Council Members Rachel Proctor, James Zander, Mayor Pro Tem Curtistene McCowan, Dick

North, Virgil Helm, and Kristine Clark.

        98.      Although his Current Report is not addressed to a specific audience, it is publicly

available on the City of DeSoto’s website. Therefore, the Current Report was available to

DeSoto’s mayor and city council members and it is reasonable to infer that they are aware of it.

        99.      Thus, on or about August 7, 2018, the City of DeSoto's final policymakers were

aware of the ongoing problems with racial profiling by members of the DeSoto Police Department.

        100.     Moreover, they were, and remain, consciously indifferent to the custom and

practice of racial profiling resulting in African-American motorists being stopped by DeSoto

police officers at rates higher than similarly situated non-African-Americans.

        101.     Plaintiffs allege that this indifference constitutes a discriminatory custom and

practice resulting in African-American motorists being detained at rates higher than non-African-

Americans who were similarly situated.



4
 The Current Report does not provide population data. However, the United States Census Bureau website states that
DeSoto’s population is 12.4% Caucasian, 17.5% Hispanic, 0.5% Asian, and 0.1% Native American. No data is
provided for Middle-Eastern residents.

                                                       15                       ORIGINAL COMPLAINT
   Case 3:20-cv-00456-E Document 1 Filed 02/24/20                  Page 16 of 30 PageID 16



       102.    Plaintiffs further allege that the persistent and widespread practice of racial

profiling by the DeSoto Police Department is common and well established such as to constitute a

custom that fairly represents the City of DeSoto’s policies.

       103.    Plaintiffs further allege that the City of DeSoto’s discriminatory practice of racial

profiling is attributable to DeSoto’s city leadership because its mayor, city council members, and

chief of police have actual or constructive knowledge of it.

       104.    Therefore, the City of DeSoto is fairly and properly made a party to this lawsuit

because the custom and/or practice of racial profiling by the DeSoto Police Department is for all

intents and purposes the same as an officially adopted and promulgated policy of the City of

DeSoto or it is a policy approved by Chief Costa to whom the City of DeSoto has delegated final

policy-making authority.

       105.    Plaintiffs also allege that the fact that this discriminatory custom and practice of the

City of DeSoto’s Police Department is identified in a report commissioned by the City of DeSoto

itself is evidence that the practice is so well known and notorious that it can fairly be described as

a policy ratified by the City of DeSoto’s mayor, city council, and chief of police, and, therefore,

can be attributed to the City of DeSoto’s final policy-maker.

       106.    Plaintiffs allege that they were unlawfully detained, arrested, and experienced other

unlawful mistreatment on August 7, 2018, because of their African-American race and that

similarly situated non-African-Americans would not have experienced the same mistreatment.

These abuses were deprivations of their federal constitutional rights to equal protection under the

law and to be free from unlawful searches and seizures. Moreover, Plaintiffs were unlawfully

detained, arrested, and experienced other unlawful mistreatment on August 7, 2018, because of a

discriminatory policy, practice and/or custom of the City of Desoto.



                                                 16                    ORIGINAL COMPLAINT
   Case 3:20-cv-00456-E Document 1 Filed 02/24/20               Page 17 of 30 PageID 17



VII.   DeSoto’s Chief of Police reviewed Defendant’s actions and publicly stated that they
       followed DeSoto PD policies and did nothing wrong.

       107.   On or about October 1, 2018, the DeSoto Police Department released Officer Scott-

Lee’s dash camera footage arguing that the Officers Scott-Lee, Krekell, Money, Walker, McGill,

and Bryant followed DeSoto Police Department policies and procedures and did nothing wrong.

       108.   Prior to releasing the dash camera footage, DeSoto’s Police Chief, Joe Costa, met

with Sammie Anderson to review the footage with her in an attempt to convince her that Officers

Scott-Lee, Krekell, Money, Walker, McGill, and Bryant followed DeSoto Police Department

procedures and did nothing wrong.

       109.   Chief Costa ended the meeting shortly after Sammie Anderson requested a copy of

the video.

       110.   Upon information and belief, Plaintiffs allege that Chief Costa publicly stated that

Officers Scott-Lee, Krekell, Money, Walker, McGill, and Bryant followed DeSoto Police

Department procedures and did nothing wrong before the DeSoto Police Department’s Internal

Affairs Division completed their investigation of the Defendant Officers’ conduct.

       111.   Upon information and belief, Plaintiffs allege that Chief Costa has publicly stated

in interviews with the Dallas Morning News that DeSoto Police Department’s policies require

citizens to “comply now, complain later.”

       112.   Plaintiffs allege that the “comply now, complain later” policy encourages officers

to believe they are entitled to issue unlawful commands and then force citizens to comply with

those unlawful commands by whatever means they deem necessary.

       113.   This includes: Officers Scott-Lee and Krekel ordering Sammie Anderson, Matt

Bateman, Grant Bible, and Samuel Bible to get on the ground at taser-point despite the fact that

they lacked the requisite reasonable suspicion to detain them; Officer Krekel tackling Sammie

                                               17                   ORIGINAL COMPLAINT
   Case 3:20-cv-00456-E Document 1 Filed 02/24/20               Page 18 of 30 PageID 18



Anderson to the ground causing injury to her left knee; Officer Krekel tasing Grant Bible while

Officers Scott-Lee, Money, Walker, McGill, and Bryant participated by holding him down,

aggressively twisted his arms behind his back, and one officer placed his knee on Grant Bible’s

neck while driving his face into the pavement; and Officers Scott-Lee, Krekel, Money, Walker,

McGill, and Bryant wrongfully arresting Grant Bible and Samuel Bible and wrongfully initiating

prosecution against them for interfering with police.

       114.    Upon information and belief, Plaintiffs allege that at least three of Defendant

Officers were previously disciplined for violating DeSoto Police Department’s policies.

       115.    Upon information and belief, Plaintiffs allege that Chief Costa admitted to the

Dallas Morning News during interviews about the events of August 7, 2018, that Officers Scott-

Lee and Krekel faced discipline for problems occurring less than one year prior to August 7, 2018,

but provided no details.

       116.    Upon information and belief, Plaintiffs allege that Officer Money was reprimanded

in mid-August of 2018 for ignoring a supervisor’s orders to stop chasing a suspect, who

eventually crashed his car into another vehicle, according to a police memo.

VIII. DeSoto’s final policymakers held a town hall meeting to further support Defendants.

       117.    On Tuesday, October 16, 2018, DeSoto’s Mayor, Curtistene McCowan, helped

organize a town hall meeting attended by roughly sixty people to address what happened on August

7, 2018. Among those in attendance were several elected officials, including U.S. Rep. Eddie

Bernice Johnson, Senator Royce West, District Attorney Faith Johnson, DeSoto city officials and,

speaking on behalf of the DeSoto Police Department, in place of Chief Joe Costa, Sergeant Heath

Penwarden, head of internal affairs.




                                                18                  ORIGINAL COMPLAINT
   Case 3:20-cv-00456-E Document 1 Filed 02/24/20                 Page 19 of 30 PageID 19



       118.    Speaking on behalf of the DeSoto Police Department, Sergeant Penwarden further

defended Officers Scott-Lee, Krekell, Money, Walker, McGill, and Bryant, claiming that their

actions were consistent with DeSoto Police Department’s policies.

                                            COUNT I

          Municipal Liability- Unconstitutional Custom or Policy- 42 U.S.C. § 1983

       119.    Plaintiffs reallege and incorporate by reference, as though fully set forth here, each

and every allegation set forth in the above paragraphs.

       120.    On and for some time prior to July 18, 2017 (and continuing to the present date)

Defendants City of DeSoto, DeSoto Police Department, and Officers Scott-Lee, Krekel, Money,

Walker, McGill, and Bryant deprived Plaintiffs of their rights and liberties secured to them by the

Fourth and Fourteenth Amendments to the United States Constitution, in that said Defendants and

their supervising and managerial employees, agents, and representatives, acting with gross

negligence and with reckless and deliberate indifference to the rights and liberties of the public in

general, knowingly maintained, enforced and applied an official policy recognized by the City of

DeSoto and the DeSoto Police Department.

       121.    Defendant Officers Scott-Lee, Krekel, Money, Walker, McGill, and Bryant acted

under color of law.

       122.    Defendant Officers Scott-Lee, Krekel, Money, Walker, McGill, and Bryant acted

pursuant to an expressly adopted official policy or a longstanding practice or custom of the

Defendant City of DeSoto.

       123.    Defendant Officers Scott-Lee, Krekel, Money, Walker, McGill, and Bryant were

not terminated or suspended in connection with the offenses Plaintiffs allege they committed

against them on August 7, 2018.



                                                 19                   ORIGINAL COMPLAINT
   Case 3:20-cv-00456-E Document 1 Filed 02/24/20                   Page 20 of 30 PageID 20



       124.    Defendant City of DeSoto together with the DeSoto Chief of Police, and other

Policymakers, including DeSoto’s mayor and DeSoto’s city council members, maintained, inter

alia, the following unconstitutional customs, practices, and policies:

           a. Racial profiling;

           b. Unlawful searches and seizures;

           c. Using excessive force;

           d. Providing inadequate training regarding the use of force;

           e. Providing inadequate training regarding the de-escalation of force;

           f. Providing inadequate training regarding the use of body cameras;

           g. Employing and retaining as law enforcement officers those who Defendant City of

               DeSoto, at all times material herein, knew or reasonably should have known had

               dangerous propensities for abusing their authority and for mistreating citizens

               through unlawful searches, unlawful seizures, assaults, and excessive uses of force;

           h. Inadequately supervising, training, controlling, assigning and disciplining law

               enforcement officers who Defendant City of DeSoto, knew, or in the exercise of

               reasonable care, should have known had the aforementioned propensities and

               character traits;

           i. Employing and retaining officers who have been known to be abusive;

           j. Maintaining      grossly   inadequate    procedures    for   reporting,   supervising,

               investigating, reviewing, disciplining and controlling the intentional misconduct by

               those who are law enforcement officers.




                                                20                       ORIGINAL COMPLAINT
   Case 3:20-cv-00456-E Document 1 Filed 02/24/20                 Page 21 of 30 PageID 21



           k. Failing to adequately discipline law enforcement officers for the above-referenced

               categories of misconduct by administering discipline that is so slight that is

               tantamount to encouraging misconduct;

           l. Having and maintaining an unconstitutional custom and practice of using excessive

               force and covering up police misconduct. These customs and practices were

               condoned by Defendants in deliberate indifference to the safety and rights of

               civilians, including the Plaintiff.

       125.    By reason of the aforementioned policies and practices of Defendant City of

DeSoto and their Policymakers, Plaintiffs experienced severe pain and suffering for which they

are entitled to recover damages. The aforementioned acts and omissions also caused Plaintiffs’

pain and suffering.

       126.    Defendants City of DeSoto, together with various other officials, whether named

or unnamed, had either actual or constructive knowledge of the different policies, practices, and

customs alleged in the paragraphs above. Despite having knowledge as stated above, these

Defendants condoned, tolerated and, through actions and inactions, ratified such policies. Said

Defendants also acted with deliberate indifference to both the foreseeable effects and

consequences of these policies and to the constitutional rights of Plaintiffs, and other individuals

similarly situated.

       127.    By perpetuating, sanctioning, tolerating, and ratifying the outrageous conduct and

other wrongful acts, Defendant City of DeSoto acted with an intentional, reckless, and callous

disregard for the well-being of Plaintiffs and their constitutional and human rights. Defendant’s

actions were willful, wanton, malicious, fraudulent, and extremely offensive and unconscionable

to a reasonable person.



                                                     21               ORIGINAL COMPLAINT
   Case 3:20-cv-00456-E Document 1 Filed 02/24/20                    Page 22 of 30 PageID 22



        128.    Furthermore, the policies, practices, and customs implemented, maintained and still

tolerated by Defendant City of DeSoto and DeSoto Police Department were affirmatively linked

to, and were a significantly influential force behind, the Plaintiffs’ injuries.

        129.    Plaintiffs bring this claim and seek damages for the nature and extent of their

injuries, pain and suffering, and emotional distress. Plaintiffs also seek attorneys’ fees.

                                                 COUNT II

                       Municipal Liability – Failure to Train – 42 U.S.C. § 1983

        130.    Plaintiffs reallege and incorporate by reference, as though fully set forth herein,

each and every allegation set forth in the above paragraphs.

        131.    Defendant Officers Scott-Lee, Krekel, Money, Walker, McGill, and Bryant acted

under color of law.

        132.    The acts of Defendant Officers Scott-Lee, Krekel, Money, Walker, McGill, and

Bryant deprived Plaintiffs of their particular rights under the United States Constitution.

        133.    On information and belief, the DeSoto Police Department failed to properly and

adequately train Defendant Officers Scott-Lee, Krekel, Money, Walker, McGill, and Bryant,

including but not limited to, with regard to the use of physical force, making arrests, use of force

against restrained citizens, and de-escalation tactics and principles.

        134.    Defendants City of DeSoto and DeSoto Police Department developed and

maintained a policy of deficient training of its law enforcement officers in the use of force,

including excessive force, apprehension of individuals, and use of force against non-threatening

persons. The DeSoto Police Department’s training is designed and implemented by Chief Costa

and the DeSoto Police Department to instruct its law enforcement officers to act in this regard.




                                                  22                     ORIGINAL COMPLAINT
   Case 3:20-cv-00456-E Document 1 Filed 02/24/20                    Page 23 of 30 PageID 23



        135.    Plaintiffs will show that Officers Scott-Lee, Krekel, Money, Walker, McGill, and

Bryant’s actions were the result of, or within the scope of, wrongful and reckless customs, policies,

practices and/or procedures for which the City of DeSoto, the DeSoto Police Department, and

Chief Costa knew or should have known would occur because the officers did not receive requisite

and proper training.

        136.    The training policies of Defendants City of DeSoto and DeSoto Police Department

were not adequate to train its officers to handle the usual and recurring situations with which they

must deal, including the use of force and with regard to the treatment of individuals being detained

or arrested.

        137.    Defendants City of DeSoto and DeSoto Police Department were deliberately

indifferent to the obvious consequences of their failure to train their officers adequately.

        138.    The failure of Defendants City of DeSoto and DeSoto Police Department to provide

adequate training caused the deprivation of Plaintiffs’ rights by Defendant Officers Scott-Lee,

Krekel, Money, Walker, McGill, and Bryant; that is, Defendants City of DeSoto and DeSoto Police

Department’s failure to train is so closely related to the deprivation of Plaintiffs’ rights as to be the

moving force that caused the ultimate injury.

        139.    The aforementioned acts and omissions caused Plaintiffs’ injuries and pain and

suffering.

        140.    Accordingly, Defendants are liable to Plaintiffs for compensatory damages under

42 U.S.C. § 1983.

        141.    Plaintiffs bring this claim and seek damages for the nature and extent of their

injuries, pain and suffering, and emotional distress. Plaintiffs also seek attorneys’ fees.




                                                   23                    ORIGINAL COMPLAINT
   Case 3:20-cv-00456-E Document 1 Filed 02/24/20                 Page 24 of 30 PageID 24



                                               COUNT III

                           Unlawful Seizure of a Person – 42 U.S.C. § 1983

       142.    Plaintiffs reallege and incorporate by reference, as though fully set forth herein,

each and every allegation set forth in the above paragraphs.

       143.    Defendant Officers Scott-Lee, Krekel, Money, Walker, McGill, and Bryant acted

under color of law.

       144.    DeSoto Police Officers, including Defendant Officers Scott-Lee, Krekel, Money,

Walker, McGill, and Bryant, unlawfully detained Plaintiffs without probable cause, or reasonable

suspicion that any violation or crime had been committed. Those actions violated Plaintiffs’ rights

to due process, equal protection, and give rise to Plaintiffs’ claims pursuant to the Fourth

Amendment to the Constitution of the United States and 42 U.S.C. § 1983.

       145.    The City of DeSoto and the DeSoto Police Department violated Plaintiffs’

constitutional rights to due process, equal protection, and not to be detained without probable cause

or reasonable suspicion when the Defendants arrested and wrongfully detained Plaintiffs. Plaintiffs

were detained, placed in handcuffs and arrested, despite the fact that there was no reasonable basis

for suspecting that they had been involved, were involved, or were about to be involved in criminal

activity and despite the fact that there was no probable cause to arrest them. When Officers Scott-

Lee and Krekel stopped Sammie Anderson she was simply walking near her home, Grant Bible

was seated in his car, and Samuel Bible was attempting to return to his home after work.

       146.    Plaintiffs did not pose an immediate threat to the safety of law enforcement officers

or others. Defendant Officers Scott-Lee, Krekel, Money, Walker, McGill, and Bryant’s conduct

was objectively unreasonable, resulted from a lack of training, and comported with the City of

DeSoto and DeSoto Police Department’s illegal de facto policies.



                                                 24                   ORIGINAL COMPLAINT
   Case 3:20-cv-00456-E Document 1 Filed 02/24/20                    Page 25 of 30 PageID 25



        147.    As a result, Plaintiffs suffered injuries, which resulted directly from their wrongful

detention, and/or seizure that was objectively unreasonable and violation of clearly established

law.

                                                 COUNT IV

            Excessive Force (Individually and in his Official Capacity) – 42 U.S.C. § 1983

        148.    Plaintiffs reallege and incorporate by reference, as though fully set forth herein,

each and every allegation set forth in the above paragraphs. Plaintiffs would show that the

Defendant Officers’ actions on the occasion in question were wrongful, malicious and reckless in

depriving Plaintiffs of their constitutional rights, as alleged more fully below.

        149.    Plaintiffs would show that at all times material hereto, the Defendants had a duty

to avoid infliction of unjustified bodily injury to Plaintiffs, to protect their bodily integrity, and to

not trample on their constitutional rights.

        150.    This cause of action is brought pursuant to 42 U.S.C.A. § 1983 and the United

States Constitution.

        151.    On August 7, 2018, Plaintiffs possessed the rights guaranteed by the United States

Constitution, included but not limited to, the Fourth and Fourteenth Amendment rights against

unlawful and unreasonable search, seizure, excessive force, and equal protection under the law.

        152.    Plaintiffs would show that Defendant Officers Scott-Lee, Krekel, Money, Walker,

McGill, and Bryant failed to act as reasonable officers would have acted in the same or similar

circumstances. That is, the officers, without justification and the need to do so, used excessive

force as described above and severely injured Plaintiffs Sammie Anderson and Grant Bible without

legal justification. Sammie Anderson and Grant Bible did not make any threatening gestures

towards Defendant Officers Scott-Lee, Krekel, Money, Walker, McGill, and Bryant or other law



                                                   25                    ORIGINAL COMPLAINT
   Case 3:20-cv-00456-E Document 1 Filed 02/24/20                  Page 26 of 30 PageID 26



enforcement and did not pose an immediate threat to the safety of Scott-Lee, Krekel, Money,

Walker, McGill, and Bryant or other officers on the scene.

       153.     Defendant Scott-Lee, Krekel, Money, Walker, McGill, and Bryant and other

officers on the scene were not provoked when they began violently assaulting Sammie Anderson

and Grant Bible for no lawful or justifiable reason.

       154.     The unjustified and excessive force used by Scott-Lee, Krekel, Money, Walker,

McGill, and Bryant was not reasonable, nor was it necessary under the circumstances. When

Officer Krekel tackled Sammie Anderson to the ground, she neither posed a threat to him or Scott-

Lee who were the only officers then at the scene. Moreover, neither officer had a legal basis for

detaining or arresting her. When Officer Krekel tased Grant Bible while Officers Scott-Lee,

Money, Walker, McGill, and Bryant participated by holding him down, aggressively twisting his

arms behind his back, and one officer placed his knee on Grant Bible’s neck while driving his face

into the pavement, he was lying face down on the ground with several officers bearing their weight

on his back. Moreover, none of the officers had a legal basis for detaining or arresting him.

       155.     Defendants Scott-Lee, Krekel, Money, Walker, McGill, and Bryant's actions on

that day were not objectively reasonable because they were designed to inflict excessive force in

restraining an individual in a non-threatening situation that included several surrounding law

enforcement officers.

       156.     The Plaintiffs would show that the Defendant denied Plaintiffs their right to be free

from the use of excessive force in violation of the Fourth Amendment to the United States

Constitution.

       157.     The force used by Defendants Scott-Lee, Krekel, Money, Walker, McGill, and

Bryant and other law enforcement was unnecessary, excessive and unreasonable under the



                                                 26                    ORIGINAL COMPLAINT
   Case 3:20-cv-00456-E Document 1 Filed 02/24/20                  Page 27 of 30 PageID 27



circumstances, as neither Sammie Anderson nor Grant Bible posed an immediate threat to the

safety of Scott-Lee, Krekel, Money, Walker, McGill, or Bryant. Because there was no threat to

law enforcement, the assaults on Sammie Anderson and Grant Bible were excessive and none of

the violent attacks were necessary under the circumstances. The Defendants embarked on a willful,

malicious, reckless and outrageous course of conduct that was intended to cause and, in fact, did

cause Plaintiffs to suffer extreme and severe mental and emotional distress, agony, anxiety and

physical harm.

       158.      As a result of the conduct by Defendants Scott-Lee, Krekel, Money, Walker,

McGill, and Bryant, Defendants are liable to plaintiffs for their injuries, either because they were

integral participants in the use of excessive force or because they failed to intervene to prevent

these violations.

       159.      The conduct of Defendants Scott-Lee, Krekel, Money, Walker, McGill, and Bryant

was willful, wanton, malicious, and done with an evil motive and intent and a reckless disregard

for the rights and safety of Plaintiffs and therefore warrants the imposition of exemplary and

punitive damages. Sammie Anderson and Grant Bible suffered painful and brutal attacks. Sammie

Anderson’s left knee was injured when Officer Krekel tackled her to the ground. Grant Bible

experienced excruciating pain when he was tased repeatedly by Officer Krekel while officers

Scott-Lee, Money, Walker, McGill, and Bryant assisted in holding him down. In addition to the

physical pain he suffered, Grant Bible’s left eye was injured.

       160.      Accordingly, Defendants are liable to Plaintiffs for compensatory and punitive

damages under 42 U.S.C.A. § 1983. Plaintiffs seek damages for the nature and extent of Plaintiffs’

injuries, pain and suffering, and emotional distress. Plaintiffs also seek attorneys’ fees.




                                                 27                    ORIGINAL COMPLAINT
   Case 3:20-cv-00456-E Document 1 Filed 02/24/20                Page 28 of 30 PageID 28



        161.    As a result of these constitutional violations to Plaintiffs and the injuries they

sustained, Plaintiffs seek compensation as set forth more specifically in the section of this

Complaint entitled “Damages.”

                                               DAMAGES

        162.    Plaintiffs reallege and incorporate by reference, as though fully set forth herein,

each and every allegation set forth in the above paragraphs.

        163.    As a direct and proximate result of the Defendants’ acts and/or omissions alleged

herein, Plaintiffs suffered:

            a. Actual damages;

            b. Pain and suffering;

            c. Mental anguish and emotional distress suffered by Plaintiffs;

            d. Medical expenses;

            e. Pre- and post-judgment interest;

            f. Attorneys’ fees and costs of suit; and

            g. Such other and further relief as this Honorable Court deems just and proper.

                               PUNITIVE/EXEMPLARY DAMAGES

        164.    Plaintiffs reallege and incorporate by reference, as though fully set forth herein,

each and every allegation set forth in the above paragraphs.

        165.    Additionally, and in the alternative, the conduct of Defendants Scott-Lee, Krekel,

Money, Walker, McGill, and Bryant was done with malice. As such, Plaintiffs request punitive

and exemplary damages to deter this type of conduct in the future. Such unconscionable conduct

goes beyond ordinary negligence as it was done intentionally and for the purpose of causing

Plaintiffs harm. Plaintiffs request punitive and exemplary damages be awarded against Defendants



                                                  28                 ORIGINAL COMPLAINT
   Case 3:20-cv-00456-E Document 1 Filed 02/24/20                  Page 29 of 30 PageID 29



Scott-Lee, Krekel, Money, Walker, McGill, and Bryant in a sum which is within the jurisdictional

limits of this Court.

                                COSTS AND ATTORNEYS’ FEES

        166.    Plaintiffs reallege and incorporate by reference, as though fully set forth here, each

and every allegation set forth in the above paragraphs.

        167.    Plaintiffs are entitled to an award of attorney fees and costs under 42 U.S.C.A. §

1988(b). As such, Plaintiffs request the Court to award costs and attorneys’ fees incurred in

Plaintiffs’ prosecution of this litigation.

                                   CONDITIONS PRECEDENT

        168.    Plaintiffs reserve their rights to plead and prove the damages to which they are

entitled to at the time of trial. All conditions to Plaintiffs’ recovery have been performed or have

occurred.

                                          TRIAL BY JURY

        169.    Plaintiffs have paid a jury fee and demand a trial by jury.

                                              PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that Defendants be cited to

appear and answer herein; that upon final trial hereof Plaintiffs have and recover judgment from

Defendants; actual damages, exemplary damages, pre-judgment interest at the legal rate; interest

on said judgment at the legal rate; costs of court; and such other and further relief, both general

and special, at law and in equity, to which Plaintiffs may show themselves justly entitled.

        Plaintiff further demands that he be awarded such other and further legal and equitable

relief as may be found appropriate and as the Court may deem just or equitable.




                                                 29                    ORIGINAL COMPLAINT
   Case 3:20-cv-00456-E Document 1 Filed 02/24/20    Page 30 of 30 PageID 30



Dated: February 24, 2020                  Respectfully submitted,


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                                     30                  ORIGINAL COMPLAINT
